              Case 23-10831-MFW   Doc 1064-2      Filed 03/05/24   Page 1 of 6




                                      Exhibit 1




169403691v2
     Case 23-10831-MFW                Doc 1064-2        Filed 03/05/24   Page 2 of 6


                             HURON CONSULTING SERVICES, LLC
                                        EXHIBIT 1.A
                       SUMMARY OF HOURS AND FEES BY PROFESSIONAL
                       FROM JANUARY 1, 2024 THROUGH JANUARY 31, 2024



     Professional                   Title           Standard Rates   Hours          Standard Fees
Laura Marcero          Managing Director            $       1,250            13.9   $    17,375.00
Timothy Martin         Managing Director            $       1,175             3.5   $     4,112.50
Robert Loh             Senior Director              $         975            40.4   $    39,390.00
Kirstyn McGuinness     Director                     $         750             1.9   $     1,425.00
Fernando Pena-Alfaro   Director                     $         750             1.4   $     1,050.00
Holger Ericsson        Manager                      $         650            23.6   $    15,340.00
Rommel Hernandez       Analyst                      $         450             8.5   $     3,825.00
                                                                             93.2   $    82,517.50
             Total Hours and Fees for Professionals


                                                                                    $    82,517.50
                    Total Fees for Professionals
                        Less: 20% Holdback                                          $   (16,503.50)
                                                                                    $     66,014.00
                     Total Fees for Professionals
              Case 23-10831-MFW                 Doc 1064-2     Filed 03/05/24    Page 3 of 6



                                        HURON CONSULTING SERVICES, LLC
                                                 EXHIBIT 1.B

                                 SUMMARY OF HOURS AND FEES BY MATTER CODE
                                FROM JANUARY 1, 2024 THROUGH JANUARY 31, 2024

Matter Code                             Matter Category                         Hours              Fees
      2       Claim Analysis                                                             6.9   $    6,270.00
      3       Asset Analysis and Recovery                                               14.6       15,710.00
      5       Cash Flow Analysis/Reporting                                              43.0       32,417.50
      6       Meetings and Communications                                                8.9        8,695.00
      7       Disclosure Statement / Plan of Reorganization                             15.5       15,622.50
     12       Retention and Fee Applications                                             4.3        3,802.50

                           Total Hours and Fees by Matter Category                      93.2       $82,517.50

                                                                       Average Billing Rate          $885.38
                                Case 23-10831-MFW                                     Doc 1064-2                         Filed 03/05/24                             Page 4 of 6


Exhibit 1.C - Time Details
Financial Advisors to the Official Committee of Unsecured Creditors

    Task
    Code    Task Code Description            Professional             Date     Description                                                                                 Hours         Rate          Amount
     7      Disclosure Statement / Plan of   Fernando Pena-Alfaro   01/02/24   Review and comment on proposed liquidation analysis prepared in support of potential            1.4   $    750.00   $       1,050.00
            Reorganization                                                     plan objection.
      3     Asset Analysis and Recovery      Laura Marcero          01/02/24   Meeting with R. Loh to review status of plan negotiations, the Debtors' waterfall               0.9   $ 1,250.00    $        1,125.00
                                                                               projections, and claims analysis.
      3     Asset Analysis and Recovery      Robert Loh             01/02/24   Meeting with L. Marcero to review status of plan negotiations, the Debtors' waterfall           0.9   $    975.00   $         877.50
                                                                               projections, and claims analysis.
      3     Asset Analysis and Recovery      Laura Marcero          01/02/24   Review proposed liquidation analysis and outline potential revisions.                           0.5   $ 1,250.00    $         625.00
      7     Disclosure Statement / Plan of   Robert Loh             01/02/24   Revise potential plan objection liquidation analysis based on comments from L. Marcero.         2.1   $ 975.00      $       2,047.50
            Reorganization
      7     Disclosure Statement / Plan of   Robert Loh             01/02/24   Revise potential plan objection liquidation analysis based on comments from F. Pena-            2.4   $    975.00   $       2,340.00
            Reorganization                                                     Alfaro.
      7     Disclosure Statement / Plan of   Robert Loh             01/02/24   Review updated draft plan objection and compare to UCC liquidation analysis.                    2.4   $    975.00   $       2,340.00
            Reorganization
      7     Disclosure Statement / Plan of   Robert Loh             01/03/24   Continue to compare draft plan objection to the most recent version of the Debtors'             1.9   $    975.00   $       1,852.50
            Reorganization                                                     liquidation analysis.
      7     Disclosure Statement / Plan of   Robert Loh             01/03/24   Compare draft plan objection to the most recent version of the Debtors' liquidation             2.3   $    975.00   $       2,242.50
            Reorganization                                                     analysis.
      6     Meetings and Communications      Robert Loh             01/04/24   Participate on weekly UCC update call with counsel and committee members.                       0.2   $    975.00   $         195.00
      6     Meetings and Communications      Holger Ericsson        01/04/24   Prepare for UCC update call and outline discussion points related to cash disbursements.        0.8   $    650.00   $         520.00

      6     Meetings and Communications      Holger Ericsson        01/04/24   Participate in UCC update meeting covering post-petition cash flow, GUC reserve                 0.2   $    650.00   $         130.00
                                                                               negotiations, etc.
      2     Claim Analysis                   Holger Ericsson        01/04/24   Review case docket for significant filings related to claims.                                   0.3   $    650.00   $         195.00
      6     Meetings and Communications      Rommel Hernandez       01/04/24   Participate in UCC update meeting covering post-petition cash flow, GUC reserve                 0.2   $    450.00   $          90.00
                                                                               negotiations, etc.
      6     Meetings and Communications      Laura Marcero          01/04/24   Participate on weekly UCC update call with counsel and committee members.                       0.2   $ 1,250.00    $          250.00
      6     Meetings and Communications      Timothy Martin         01/04/24   Participate on weekly UCC update call with counsel and committee members.                       0.2   $ 1,175.00    $          235.00
      7     Disclosure Statement / Plan of   Laura Marcero          01/04/24   Review revised plan objection.                                                                  1.7   $ 1,250.00    $        2,125.00
            Reorganization
      5     Cash Flow Analysis/Reporting     Laura Marcero          01/04/24   Review most recent cashflow update materials.                                                   0.8   $ 1,250.00    $       1,000.00
      5     Cash Flow Analysis/Reporting     Timothy Martin         01/04/24   Prepare for weekly UCC update call with counsel and committee members.                          0.6   $ 1,175.00    $         705.00
      5     Cash Flow Analysis/Reporting     Laura Marcero          01/04/24   Comment on weekly cashflow update.                                                              0.6   $ 1,250.00    $         750.00
      6     Meetings and Communications      Robert Loh             01/04/24   Prepare for weekly UCC update call with counsel and committee members.                          0.5   $ 975.00      $         487.50
      5     Cash Flow Analysis/Reporting     Robert Loh             01/04/24   Review and revise weekly UCC update materials.                                                  1.3   $ 975.00      $       1,267.50
      3     Asset Analysis and Recovery      Laura Marcero          01/05/24   Meeting with R. Loh to discuss liquidation issues and treatment of various claims.              0.6   $ 1,250.00    $         750.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/05/24   Initial review of the updated cashflow results through 12/30/23.                                0.9   $ 650.00      $         585.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/05/24   Reconcile variances in the Debtors' cashflow model and outline follow ups for the               1.6   $ 650.00      $       1,040.00
                                                                               Debtors' FA.
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/05/24   Revise updated 13 week cashflow analysis for the week ended 12/30.                              1.2   $    650.00   $         780.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/05/24   Prepare UCC update materials covering the week ended 12/30.                                     1.3   $    650.00   $         845.00

      5     Cash Flow Analysis/Reporting     Rommel Hernandez       01/05/24   Update the Debtors' weekly cash flow projections based on updates included in weekly            1.5   $    450.00   $         675.00
                                                                               reporting package through 12/30.
      3     Asset Analysis and Recovery      Robert Loh             01/05/24   Meeting with L. Marcero to discuss liquidation issues and treatment of various claims.          0.6   $    975.00   $         585.00

      3     Asset Analysis and Recovery      Laura Marcero          01/05/24   Review revised liquidation analyses.                                                            1.7   $ 1,250.00    $        2,125.00
      7     Disclosure Statement / Plan of   Laura Marcero          01/05/24   Additional review of revised plan objection.                                                    1.3   $ 1,250.00    $        1,625.00
            Reorganization
      5     Cash Flow Analysis/Reporting     Robert Loh             01/05/24   Review and comment on analysis of the Debtors' cash flow results through 12/30/23 and           1.8   $    975.00   $        1,755.00
                                                                               updated forecast.
      2     Claim Analysis                   Robert Loh             01/09/24   Review claims filings in advance of discussion with the Debtors.                                0.4   $    975.00   $         390.00
      2     Claim Analysis                   Robert Loh             01/09/24   Participate in call with counsel (D. Kovsky-Apap) to update debtor revised waterfall with       0.3   $    975.00   $         292.50
                                                                               T. Martin and K. McGuinness.
      3     Asset Analysis and Recovery      Kirstyn McGuinness     01/09/24   Participate in call with counsel (D. Kovsky-Apap) to update debtor revised waterfall with       0.3   $    750.00   $         225.00
                                                                               T. Martin, R. Loh (partial participation).
      2     Claim Analysis                   Kirstyn McGuinness     01/09/24   Review updated claims for government bar date deadline.                                         0.4   $    750.00   $         300.00
      2     Claim Analysis                   Kirstyn McGuinness     01/09/24   Participate in meeting with debtor (A. Kroll) and debtor advisors and Huron (R. Loh).           0.8   $    750.00   $         600.00

      2     Claim Analysis                   Kirstyn McGuinness     01/09/24   Prepare for meeting with debtor (A. Kroll) and debtor advisors regarding claims issues.         0.4   $    750.00   $         300.00

      3     Asset Analysis and Recovery      Laura Marcero          01/09/24   Review follow ups from call with the Debtors' regarding proposed waterfall.                     0.8   $ 1,250.00    $        1,000.00

      3     Asset Analysis and Recovery      Robert Loh             01/09/24   Prepare summary of call with Debtors regarding the UCC's estimate waterfall and                 1.3   $    975.00   $        1,267.50
                                                                               differences with the Debtors' version.
      3     Asset Analysis and Recovery      Timothy Martin         01/09/24   Participate in call with counsel (D. Kovsky-Apap) to update debtor revised waterfall with       0.3   $ 1,175.00    $         352.50
                                                                               R. Loh and K. McGuinness.
      3     Asset Analysis and Recovery      Timothy Martin         01/09/24   Review summary of the Debtors' waterfall proposal.                                              0.4   $ 1,175.00    $         470.00
      2     Claim Analysis                   Robert Loh             01/09/24   Email correspondence with Debtors' FA regarding analysis of claims and withdrawn                0.7   $ 975.00      $         682.50
                                                                               items.
      2     Claim Analysis                   Robert Loh             01/09/24   Teleconference with the Debtors regarding unsecured claims.                                     0.8   $    975.00   $          780.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/10/24   Initial review of the updated cashflow results through 01/06/24.                                1.3   $    650.00   $          845.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/10/24   Reconcile variances in the Debtors' cashflow model and outline follow ups for the               1.7   $    650.00   $        1,105.00
                                                                               Debtors' FA.
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/10/24   Revise updated 13 week cashflow analysis for the week ended 01/06/24.                           0.9   $    650.00   $         585.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/10/24   Prepare UCC update materials covering the week ended 01/06/24.                                  1.3   $    650.00   $         845.00
      5     Cash Flow Analysis/Reporting     Rommel Hernandez       01/10/24   Update the Debtors' weekly cash flow projections based on updates included in weekly            1.5   $    450.00   $         675.00
                                                                               reporting package through 01/06.
      5     Cash Flow Analysis/Reporting     Robert Loh             01/11/24   Review and comment on updated UCC presentation for the week ended 01/06/24.                     0.8   $ 975.00      $         780.00
      6     Meetings and Communications      Robert Loh             01/12/24   Meeting with Counsel and Huron regarding reserve for unsecured claims.                          0.5   $ 975.00      $         487.50
      6     Meetings and Communications      Laura Marcero          01/12/24   Meeting with Counsel and Huron regarding reserve for unsecured claims.                          0.5   $ 1,250.00    $         625.00
      3     Asset Analysis and Recovery      Robert Loh             01/12/24   Prepare comparison of the updated projected waterfall (Debtors) vs. UCC estimate.               0.9   $ 975.00      $         877.50
      6     Meetings and Communications      Laura Marcero          01/12/24   Prepare for discussion with Counsel regarding Plan reserve issues.                              0.8   $ 1,250.00    $       1,000.00
     12     Retention and Fee Applications   Holger Ericsson        01/12/24   Preparation of December 2023 monthly fee statement.                                             1.2   $ 650.00      $         780.00
      6     Meetings and Communications      Robert Loh             01/12/24   Prepare for discussion with Troutman regarding reserve issues.                                  1.4   $ 975.00      $       1,365.00
      3     Asset Analysis and Recovery      Robert Loh             01/12/24   Revise liquidation/claims analysis based on discussions with counsel.                           2.1   $ 975.00      $       2,047.50
      5     Cash Flow Analysis/Reporting     Robert Loh             01/17/24   Review updated weekly UCC presentation materials.                                               0.4   $ 975.00      $         390.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/17/24   Initial review of the updated cashflow results through 01/13/24.                                0.8   $ 650.00      $         520.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/17/24   Revise updated 13 week cashflow analysis for the week ended 01/13/24.                           1.6   $ 650.00      $       1,040.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/17/24   Prepare UCC update materials covering the week ended 01/13/24.                                  0.9   $ 650.00      $         585.00
      6     Meetings and Communications      Holger Ericsson        01/17/24   Outline UCC presentation notes for discussion with R. Loh.                                      0.7   $ 650.00      $         455.00
      5     Cash Flow Analysis/Reporting     Rommel Hernandez       01/17/24   Update the Debtors' weekly cash flow projections based on updates included in weekly            2.0   $ 450.00      $         900.00
                                                                               reporting package through 01/13.
      5     Cash Flow Analysis/Reporting     Robert Loh             01/17/24   Review and comment on weekly UCC update materials.                                              1.2   $    975.00   $       1,170.00
     12     Retention and Fee Applications   Robert Loh             01/18/24   Preparation of Huron's December 2023 monthly fee application.                                   1.7   $    975.00   $       1,657.50
     12     Retention and Fee Applications   Robert Loh             01/19/24   Initial preparation of Huron's Second Interim Fee Application covering the period October       0.5   $    975.00   $         487.50
                                                                               - December 2023.
     12     Retention and Fee Applications   Robert Loh             01/22/24   Continue preparation of Huron's Second Interim Fee Application covering the period              0.9   $    975.00   $         877.50
                                                                               October - December 2023.
      5     Cash Flow Analysis/Reporting     Robert Loh             01/24/24   Preliminary review of the weekly UCC update materials for the week ended 01/20/24.              1.2   $    975.00   $        1,170.00

      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/24/24   Initial review of the updated cashflow results through 01/20/24.                                0.8   $    650.00   $         520.00
      5     Cash Flow Analysis/Reporting     Holger Ericsson        01/24/24   Revise updated 13 week cashflow analysis for the week ended 01/20/24.                           1.3   $    650.00   $         845.00
                               Case 23-10831-MFW                                    Doc 1064-2                         Filed 03/05/24                           Page 5 of 6


Exhibit 1.C - Time Details
Financial Advisors to the Official Committee of Unsecured Creditors

    Task
    Code    Task Code Description          Professional             Date     Description                                                                                Hours         Rate          Amount
     5      Cash Flow Analysis/Reporting   Holger Ericsson        01/24/24   Prepare UCC update materials covering the week ended 01/20/24.                                 1.4   $    650.00   $         910.00

      5     Cash Flow Analysis/Reporting   Rommel Hernandez       01/24/24   Update the Debtors' weekly cash flow projections based on updates included in weekly           1.5   $    450.00   $         675.00
                                                                             reporting package through 01/20.
      5     Cash Flow Analysis/Reporting   Timothy Martin         01/24/24   Review weekly UCC update materials.                                                            0.8   $ 1,175.00    $         940.00
      6     Meetings and Communications    Robert Loh             01/25/24   Participate on weekly UCC update call with counsel and committee members.                      0.3   $ 975.00      $         292.50
      5     Cash Flow Analysis/Reporting   Robert Loh             01/25/24   Prepare for weekly UCC update meeting and outline talking points.                              0.7   $ 975.00      $         682.50
      6     Meetings and Communications    Robert Loh             01/25/24   Call with Troutman in advance of weekly UCC update call to discuss cash flow results           0.5   $ 975.00      $         487.50
                                                                             and GUC reserve issues.
      5     Cash Flow Analysis/Reporting   Robert Loh             01/25/24   Prepare for meeting with Troutman to review cashflow results and GUC reserve.                  1.3   $ 975.00      $        1,267.50
      5     Cash Flow Analysis/Reporting   Laura Marcero          01/25/24   Prepare for weekly UCC call and discussions with Troutman related to GUC issues.               1.4   $ 1,250.00    $        1,750.00

      6     Meetings and Communications    Laura Marcero          01/25/24   Participate on weekly UCC update call with counsel and committee members.                      0.3   $ 1,250.00    $         375.00
      6     Meetings and Communications    Laura Marcero          01/25/24   Call with Troutman in advance of weekly UCC update call to discuss cash flow results           0.5   $ 1,250.00    $         625.00
                                                                             and GUC reserve issues.
      6     Meetings and Communications    Rommel Hernandez       01/25/24   Participate in UCC update meeting covering post-petition cash flow, GUC reserve                0.3   $    450.00   $         135.00
                                                                             negotiations, etc.
      6     Meetings and Communications    Timothy Martin         01/25/24   Call with Troutman in advance of weekly UCC update call to discuss cash flow results           0.5   $ 1,175.00    $         587.50
                                                                             and GUC reserve issues.
      6     Meetings and Communications    Timothy Martin         01/25/24   Participate on weekly UCC update call with counsel and committee members.                      0.3   $ 1,175.00    $         352.50
      5     Cash Flow Analysis/Reporting   Timothy Martin         01/25/24   Review weekly update materials in advance of call with counsel.                                0.4   $ 1,175.00    $         470.00
      3     Asset Analysis and Recovery    Robert Loh             01/26/24   Revise liquidation/claims analysis based on discussions with counsel.                          2.1   $ 975.00      $       2,047.50
      2     Claim Analysis                 Robert Loh             01/29/24   Email correspondence with Debtors regarding unsecured claims matrix.                           0.3   $ 975.00      $         292.50

      2     Claim Analysis                 Robert Loh             01/30/24   Preliminary review of the Debtors' claims action classification analysis.                      1.1   $    975.00   $       1,072.50

      5     Cash Flow Analysis/Reporting   Holger Ericsson        01/30/24   Initial review of the updated cashflow results through 01/27/24.                               0.9   $    650.00   $         585.00

      5     Cash Flow Analysis/Reporting   Robert Loh             01/31/24   Review and revise weekly UCC update materials for the period ended 01/27/24.                   0.6   $    975.00   $         585.00
      2     Claim Analysis                 Robert Loh             01/31/24   Prepare analysis of claims follow up items for review by the Debtors' FA.                      1.4   $    975.00   $       1,365.00
      3     Asset Analysis and Recovery    Robert Loh             01/31/24   Meeting with L. Marcero to review recent financial results and plan negotiation status.        0.6   $    975.00   $         585.00

      3     Asset Analysis and Recovery    Laura Marcero          01/31/24   Meeting with R. Loh to review recent financial results and plan negotiation status.            0.6   $ 1,250.00    $         750.00
      5     Cash Flow Analysis/Reporting   Laura Marcero          01/31/24   Review weekly UCC update materials.                                                            0.7   $ 1,250.00    $         875.00
      5     Cash Flow Analysis/Reporting   Holger Ericsson        01/31/24   Revise updated 13 week cashflow analysis for the week ended 01/27/24.                          1.8   $ 650.00      $       1,170.00
      5     Cash Flow Analysis/Reporting   Holger Ericsson        01/31/24   Prepare UCC update materials covering the week ended 01/27/24.                                 0.7   $ 650.00      $         455.00
      5     Cash Flow Analysis/Reporting   Rommel Hernandez       01/31/24   Update the Debtors' weekly cash flow projections based on updates included in weekly           1.5   $ 450.00      $         675.00
                                                                             reporting package through 01/27.

                                                                                                                                                                TOTAL      93.2                 $      82,517.50
Case 23-10831-MFW             Doc 1064-2    Filed 03/05/24        Page 6 of 6



             EXHIBIT 1.D - MONTHLY EXPENSE DETAIL
         FROM JANUARY 1, 2024 THROUGH JANUARY 31, 2024


 EXPENSE DESCRIPTION               VENDOR/PROVIDER                AMOUNT

Electronic Docket Searches,
                                PACER Service Center         $          37.80
    Document Retrieval
                                                       Total: $         37.80
